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     NATIONWIDE PROPERTY &
12   APPRAISAL SERVICES LLC,
     A New Jersey limited liability company
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14
                               UNITED STATES DISTRICT COURT
15
                             CENTRAL DISTRICT OF CALIFORNIA
16
17    NATIONWIDE PROPERTY &                      CASE NO. __________________
18    APPRAISAL SERVICES LLC, a New              COMPLAINT FOR DAMAGES:
      Jersey limited liability company,
19                                                 1. Misappropriation of Trade
20                      Plaintiff,                    Secrets under the Defend Trade
                                                      Secrets Act (18 U.S.C. §1836 et
21           v.
                                                      seq.)
22    NICOLE ANDREWS, an individual,               2. Misappropriation of Trade
      RYAN ANDREWS, an individual, and                Secrets under the California
23                                                    Uniform Trade Secrets Act
      FASTAPP INC., a New York
24    corporation,                                    (California Civil Code §§ 3426 -
                                                      3426.11)
25                                                 3. Breach of Fiduciary Duty of
26                      Defendants.                   Loyalty
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                                      COMPLAINT FOR DAMAGES

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 1                                             4. Breach of Contract
                                               5. Failure to Use Ordinary Care
 2
                                                  and Diligence under California
 3                                                Labor Code § 2854
                                               6. Failure to Comply with
 4
                                                  Employer’s Directions under
 5                                                California Labor Code § 2856
 6                                             7. Failure to Give Preference to
                                                  Performance of Employer’s
 7                                                Business Under California Labor
 8                                                Code § 2863
                                               8. Tortious Interference with
 9                                                Contractual Relations
10                                             9. Tortious Interference with
                                                  Business Relations
11                                             10. Aiding and Abetting
12                                             11. Conspiracy

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                                             DEMAND FOR JURY TRIAL
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                              COMPLAINT FOR DAMAGES

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 1         Plaintiff Nationwide Property & Appraisal Services LLC (“Nationwide” or
 2   the “Company”) brings this complaint for damages and injunctive relief, pursuant
 3   to the subject matter jurisdiction of this Court, against Defendants Nicole Andrews
 4   (“Nicole”), Ryan Andrews (“Ryan”), and Fastapp Inc. (“Fastapp”) (collectively,
 5   “Defendants”), and alleges the following:
 6                                I.    INTRODUCTION
 7         This is a case about the theft of an employer’s confidential and proprietary
 8   information and business opportunities. Nicole was a highly trusted executive for
 9   Nationwide. Indeed, she was such a vital part of the Company, that she was entrusted
10   with the creation and management of Nationwide’s office and presence on the west
11   coast. Additionally, Nationwide hired Nicole’s son, Ryan, at her request. At no point
12   in time did Nationwide imagine that the mother-and-son duo would use their familial
13   relationship to misappropriate confidential information and usurp business
14   opportunities. However, that is exactly what they did.
15         Shortly after Nicole resigned from Nationwide to join Fastapp, a direct
16   competitor, Nationwide discovered that, during the last few months of her
17   employment with Nationwide, Nicole had been forwarding to Fastapp sensitive and
18   confidential information about Nationwide’s operations and clients. Based on these
19   forwarded emails, it is apparent that Nicole and Fastapp were conspiring to use
20   Nicole’s position at Nationwide—and entrustment with confidential information—
21   to divert present and future business from Nationwide to Fastapp. The emails show
22   Nicole was speaking to Nationwide clients about transferring their business from
23   Nationwide to Fastapp, and then relaying relevant client information to Fastapp so
24   it could secure the business on its behalf (and in direct competition with
25   Nationwide).
26         Nationwide further discovered that once Nicole resigned and Ryan took over
27   management responsibility for the accounts Nicole had formerly managed, Ryan
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 1   abdicated his own loyalty to the Company in favor of his loyalty to Nicole. Indeed,
 2   Ryan began forwarding Nationwide’s confidential information to Nicole at her
 3   Fastapp email address. Ryan went as far as sending to Nicole and Fastapp requests
 4   for new customer quotes he received at Nationwide, ensuring that Nationwide never
 5   had the opportunity to secure (or earn) that business and, instead, giving such
 6   opportunity to Fastapp.
 7         Defendants’ actions have unjustly enriched them to the detriment of
 8   Nationwide and far exceed the norms of fair competition. These transgressions, if
 9   left unchecked, would not only irreparably damage Nationwide, but would also
10   undermine basic principles of fairness upon which businesses, employees, and
11   consumers operate and rely. Therefore, Nationwide brings this action to demand
12   return of its confidential information; demand permanent destruction and/or removal
13   from Defendants’ premises, computers, electronic devices, and online systems of all
14   Nationwide confidential information in Defendants’ possession; preclude
15   Defendants from continuing to use such information for any use—and, specifically,
16   to unfairly compete with Nationwide; and request compensation for the damages
17   sustained as a direct and proximate result of Defendants’ unlawful conduct.
18                                    II.    PARTIES
19         1.    Plaintiff Nationwide is a New Jersey limited liability company with its
20   principal place of business located at 1103 Laurel Oak Road, Suite 160, Voorhees,
21   New Jersey 08043.
22         2.    Defendant Nicole is an individual and a citizen of the State of
23   California. She may be served with process at 231 Cedar Street, Newport Beach,
24   California 92663, or wherever else she may be found.
25         3.     Defendant Ryan is an individual and a citizen of the State of California.
26   He may be served with process at 231 Cedar Street, Newport Beach, California
27   92663, or wherever else he may be found.
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                                 COMPLAINT FOR DAMAGES
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 1         4.     Defendant Fastapp is a New York corporation with its principal place
 2   of business located at 5118 13th Avenue, 3rd Floor, Brooklyn, New York 11219.
 3   Fastapp may be served with process by and through its registered agent,
 4   Legalzoom.com, at 101 N. Brand Boulevard, 11th Floor, Glendale, California
 5   91203.
 6                                 III.   JURISDICTION
 7         5.     This Court has subject matter jurisdiction over this lawsuit pursuant to
 8   28 U.S.C. § 1331 because this action arises under a federal statute, namely the
 9   Defend Trade Secrets Act, 18 U.S.C. § 1836 et seq. The Court has supplemental
10   jurisdiction over the remaining state law claims under 28 U.S.C. § 1367, as those
11   claims are so related to Plaintiff’s federal claim that they form part of the same case
12   or controversy.
13         6.     Additionally, this Court has subject matter jurisdiction under
14   28 U.S.C. § 1332(a)(1) because Plaintiff and Defendants are citizens of different
15   states, and the amount in controversy exceeds $75,000, excluding interest and costs.
16   Specifically, Plaintiff Nationwide, a New Jersey limited liability company with its
17   principal place of business in New Jersey, is a citizen of New Jersey. Defendant
18   Nicole, an individual, is a citizen of California. Defendant Ryan, also an individual,
19   is a citizen of California. Defendant Fastapp, a New York corporation with its
20   principal place of business in New York, is a citizen of New York.
21         7.     This Court has personal jurisdiction over Defendants Nicole and Ryan
22   because they are California residents and this lawsuit arises out of their purposeful
23   and unlawful conduct occurring within the State of California and in this District.
24         8.     This Court has personal jurisdiction over Defendant Fastapp because,
25   upon information and belief, this lawsuit arises out of Fastapp’s purposeful and
26   unlawful conduct occurring within the State of California and in this District.
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 1                                        IV.   VENUE
 2         9.      Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because a
 3   substantial part of the events or omissions giving rise to the claims raised in this
 4   lawsuit occurred in this District.
 5                           V.     FACTUAL BACKGROUND
 6   A.    Nationwide’s Business
 7         10.     Nationwide is an appraisal management company based in Voorhees,
 8   New Jersey. The company is licensed in all 50 states and Washington D.C. and
 9   provides first-in-class appraisal management for the United States government,
10   credit unions, banks, and wholesale lenders across the country.
11         11.     Nationwide prides itself in being a “one stop shop” for its clients’
12   appraisal needs. Nationwide provides appraisal management services for residential,
13   commercial, and industrial properties, including assessment appeals valuations,
14   completion and update appraisals, divorce appraisals, estate planning and date of
15   death valuations, foreclosure and REO cost to cure analysis, mortgage origination
16   and refinancing, portfolio analysis and due diligence, pre-listing appraisals, private
17   mortgage insurance removal, recertification or appraisal updates, and residential
18   consulting.
19         12.     Since its founding, Nationwide has invested a significant amount of
20   time and resources to develop a network of clients and potential clients throughout
21   the United States. As a result, Nationwide has been a respected leader in the
22   appraisal management industry for years and enjoys a significant amount of
23   goodwill in the industry and with its clients.
24   B.    Nationwide’s Reasonable Measures to Protect its Confidential
25         Information
26         13.     Nationwide has spent many years and made significant investments of
27   time and money to develop its goodwill, brand recognition, relationships with clients
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 1   and appraisers, marketing strategies, and proprietary processes, all of which it
 2   considers confidential information. Nationwide uses and relies on its confidential
 3   information to effectively compete and maintain its position as a top appraisal
 4   management company throughout the country.
 5         14.    Because maintaining the confidentiality of its information is essential
 6   to Nationwide’s commercial success, Nationwide takes reasonably calculated steps
 7   to protect its confidential information. For example, Nationwide requires employees
 8   who have access to the Company’s confidential information to execute
 9   non-disclosure agreements as a condition of employment. These non-disclosure
10   agreements notify employees that, to facilitate their business operations, Nationwide
11   will disclose certain information it deems confidential. In exchange for Nationwide’s
12   disclosure of such confidential information, employees are required to maintain the
13   confidentiality of it, by, among other things, avoiding disclosure of it to third parties.
14         15.    Additionally, Nationwide uses Appraisal Scope, a licensed software
15   application customized and maintained by a third party for Nationwide’s proprietary
16   usage, to store and control access to Nationwide’s confidential information. Each
17   employee is given a unique username and password to access Nationwide’s instance
18   of Appraisal Scope. However, each employee is given access only to the queues and
19   sections of the system he or she needs in the performance of his or her particular role
20   in the appraisal process. As such, only employees with the need to access certain
21   confidential information have access to it.
22         16.    Further, upon termination of employment, Nationwide requires
23   employees to return any confidential information in their possession, custody, or
24   control. Nationwide reminds departing employees of their continuing obligations
25   owed to the Company, including their obligations not to retain, use, or disclose
26   Company confidential information.
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 1         17.    Nationwide’s protection of its confidential information extends beyond
 2   its employees. For example, Nationwide requires clients and appraisers with access
 3   to Nationwide’s instance of Appraisal Scope to sign non-disclosure agreements
 4   similar to those executed by employees. And, like employees, clients and appraisers
 5   with access to Appraisal Scope have individualized login credentials and are given
 6   access only to the specific queues and sections of the system needed for that specific
 7   client or appraiser.
 8   C.    Nicole and Ryan’s Employment with Nationwide and Execution of
 9         Non-Disclosure Agreements
10         18.    Nicole and Ryan are mother and son. They were both, prior to this
11   action, employees of Nationwide.
12         19.    On or about October 15, 2012, Nationwide hired Nicole as the Chief
13   Sales and Marketing Officer, West Coast Region. In October 2019, her title was
14   changed, to align it relative to others across Nationwide, to Senior Vice President—
15   National Account Executive, but her position otherwise remained the same. In her
16   role, Nicole was responsible for the Company’s entire west coast office and its
17   operations. Nicole assisted Nationwide with the creation of the Company’s west
18   coast office in California. Once the office was up and running in April 2015, Nicole
19   was responsible for overseeing and managing that office. This included, among other
20   duties, hiring and managing employees for this location, which largely supported the
21   clients Nicole managed for Nationwide, and making determinations regarding what
22   potential clients to pursue.
23         20.    As a result of her executive role within the Company, Nicole was privy
24   to Nationwide’s strategies regarding appraisal products, client acquisition, business
25   acquisitions, and target pricing.
26         21.    In addition to her managerial duties, Nicole also serviced client
27   accounts. Her duties included meeting with senior management, loan officers,
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 1   brokers, and other key decision makers of existing and potential clients to secure,
 2   manage, and build appraisal order volume from both. As a member of Nationwide’s
 3   sales team, Nicole was given access to target lists of clients and potential clients,
 4   provided access to key decision-making employees within such organizations, and
 5   clothed with Nationwide’s goodwill, all of which assisted her in developing
 6   relationships with such contacts. Nicole was expected to build a network, on behalf
 7   of Nationwide, with contacts within clients and potential clients, to visit with such
 8   contacts frequently, to coordinate with Nationwide’s internal and outside account
 9   managers to ensure that the client needs were being met, and to remain connected
10   with such contacts as they moved among client locations or to other potential clients.
11   Put simply, Nicole’s key functions were to serve as a face of Nationwide and use its
12   goodwill and confidential information to strengthen relationships with existing
13   clients and to pursue and develop relationships with potential clients.
14         22.    On or about July 25, 2016, at Nicole’s request, Nationwide hired Ryan
15   as an Account Executive to support Nationwide’s west coast operations and clients
16   managed by Nicole. Subsequently, Nationwide promoted Ryan to Outside Account
17   Manager. The purpose of the Outside Account Manager position is to keep
18   Nationwide “top-of-mind” among existing clients and to increase sales through
19   (i) deeper penetration of, and long-term relationship building within, existing clients
20   and (ii) addition of new clients, through increased direct live contact and referrals to
21   related branches and/or new locations by providing them with a high level of
22   customer service. Outside Account Managers are responsible for increasing client
23   loyalty to Nationwide and increasing the likelihood that Nationwide will become the
24   clients’ appraisal management company of choice. Additionally, this role is expected
25   to increase targeting and visitation of potential clients.
26         23.    Like Nicole, Ryan’s duties included meeting face-to-face with existing
27   and potential clients, including representing Nationwide at trade shows, sponsored
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 1    events, and client functions, and building appraisal order volume. As a member of
 2    Nationwide’s sales team, Ryan was given access to target lists of clients and
 3    potential clients, provided access to key decision-making employees within such
 4    organizations, and clothed with Nationwide’s goodwill, all of which assisted him in
 5    developing relationships with such contacts. Ryan was expected to build a network,
 6    on behalf of Nationwide, with key contacts within clients and potential clients, to
 7    visit with such contacts frequently to ensure their needs were being met, and to
 8    remain connected with such contacts as they moved along client locations or to other
 9    potential clients. Ryan also managed any issues that arose with the clients to which
10    he was assigned and was expected to provide favorable outcomes to deepen
11    Nationwide’s relationship with the client. Moreover, Ryan was expected to update
12    Nationwide regularly on the status of client relationships.
13          24.    Given their representation of Nationwide, their client-facing roles, and
14    their responsibility for the development of client relationships, Nicole and Ryan had
15    access to Nationwide’s clients and confidential information. Therefore, on June 9,
16    2014, Nicole executed a non-disclosure agreement with Nationwide. Ryan executed
17    a non-disclosure agreement with Nationwide on July 22, 2016. Both non-disclosure
18    agreements are, in all relevant respects, identical and are hereby referred to
19    collectively as the “Non-Disclosure Agreements.”
20          25.    Under the terms of the Non-Disclosure Agreements, Nicole and Ryan
21    agreed they would:
22          A. Hold Proprietary and Confidential Information in confidence, and not
23                disclose it to any third party, including any competitors, parent,
24                subsidiary or affiliate company, and [that they] shall use [their] best
25                efforts to protect Confidential Information in accordance with the same
26                degree of care with which [they] protect[] [their] own Confidential
27                Information of like importance;
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 1          B. Use Confidential Information only for the purpose set forth [in the
 2                Non-Disclosure Agreements], except as may otherwise be agreed in
 3                writing by authorized individuals; [and]
 4          C. Not email, fax, verbally communicate or copy or otherwise duplicate
 5                Confidential Information, or knowingly allow anyone else to copy or
 6                otherwise duplicate any Confidential Information then under its control
 7                without the disclosing party’s written approval.
 8          26.    Additionally, Nicole and Ryan agreed to return all confidential
 9    information upon Nationwide’s request.
10          27.    “Confidential Information” was defined to mean “information relating
11    to clients,” which may include “confidential information, business plans,
12    technology, techniques, programs, business directions, marketing plans, data
13    arrangement and acquisition, and other technical and business information.”
14          28.    The obligations owed by Nicole and Ryan to Nationwide under the
15    Non-Disclosure Agreements run indefinitely and survive the termination of their
16    employment with the Company.
17          29.    Both Nicole and Ryan were permitted to use their personal computers
18    and cell phones during their employment, subject to the terms of the Non-Disclosure
19    Agreements. Thus, while confidential information may have been used or stored on
20    their personal devices, all confidential information remained the property of
21    Nationwide and Nicole and Ryan were obligated to maintain their confidentiality
22    and return it upon their departure from the Company. Importantly, because Nicole’s
23    and Ryan’s personal devices were used for business purposes, Nationwide provided
24    support services for them through a contracted technology company.
25          30.    Nicole and Ryan were not, however, authorized to use their personal
26    email accounts to conduct Nationwide business. Nevertheless, upon information and
27    belief, Nicole and Ryan, on occasion, used their personal email accounts, rather than
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 1    their Nationwide-issued email addresses, to send emails (that included, referenced,
 2    or discussed confidential information) on behalf of Nationwide.
 3    D.    Nicole Leaves Nationwide to Join Fastapp, a Direct Competitor
 4          31.    On or about June 18, 2020, Nicole gave notice of her resignation
 5    effective June 30, 2020. Upon information and belief, prior to her resignation, she
 6    had already accepted a position with Fastapp, a direct competitor of Nationwide’s.
 7          32.    Like Nationwide, Fastapp is an appraisal management company
 8    operating in most of the United States, with licenses pending in the states in which
 9    it is not currently licensed. And, like Nationwide, it provides property valuation
10    services for residential, commercial, and industrial properties. Notably, the clients
11    Fastapp seeks are similar to Nationwide’s clients: lenders, mortgage brokers, real
12    estate agents, bankers, private investors, lawyers, insurance agents, and accountants.
13          33.    Upon Nicole’s departure, Ryan inherited (and was paid sales
14    commissions on) most of the client accounts previously managed by his mother and
15    was the primary Nationwide representative in communication with those clients. He
16    also had access to Nicole’s Nationwide email inbox so he could monitor client
17    communications sent to her old inbox and ensure Nationwide was responding and
18    taking care of its clients’ needs.
19    E.    Nationwide Discovers Nicole and Ryan’s Improper Disclosure and Use of
20          Nationwide Confidential Information
21          34.    Shortly after her departure, Nationwide discovered Nicole had
22    forwarded several emails containing confidential information to representatives of
23    Fastapp and, upon information and belief, to her personal email accounts. For
24    example, on March 19, 2020, Nicole forwarded an email to Fastapp that contained
25    the Company’s confidential and proprietary COVID response policies and disclosed
26    information belonging to one of Nationwide’s clients (which, significantly, was
27    Nicole’s biggest client at Nationwide). It is important to note this email was
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 1    forwarded: (1) from Nicole’s Nationwide email address; (2) during her employment
 2    with Nationwide; and (3) three months before her resignation from Nationwide.
 3    Therefore, Fastapp knew the information was coming directly from a Nationwide
 4    employee and knew or should have known the sensitive and confidential nature of
 5    such information.
 6          35.      Nicole’s forwarding and disclosure of confidential information
 7    continued through her remaining tenure with Nationwide. For instance, on
 8    June 25, 2020—during the last two weeks, and after her resignation, of her
 9    employment with Nationwide—Nicole exchanged emails with a Nationwide client.
10    The client apparently sent the email as a “follow up to [their] conversation” earlier
11    that day and requested that Nicole provide “a quote for services offered at [her] new
12    job.” (emphasis added). Thus, it is apparent that during her employment with
13    Nationwide, Nicole was speaking to Nationwide clients about the transition of their
14    business to Fastapp, in contravention to her duties to support Nationwide. Notably,
15    this client ceased placing appraisal orders with Nationwide on or about March 15,
16    2020, proximate in time to when Nicole is known to have been forwarding
17    confidential information to Fastapp.
18          36.      Nicole forwarded the same June 25 email to Fastapp representatives,
19    noting that this “is the account we were discussing.” (emphasis added). This suggests
20    Nicole was also discussing the transferring of Nationwide business to Fastapp with
21    Fastapp representatives, and that Fastapp was both aware of, and appears to have
22    encouraged, this ploy. There are no indications that Fastapp ever declined this
23    information or requested Nicole to stop forwarding Nationwide’s confidential
24    information.
25          37.      Once Nicole resigned her Nationwide employment, Ryan, who then
26    had access to his mother’s Nationwide email account and clients, began forwarding
27    Nationwide confidential information to Nicole at Fastapp. For example, when
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 1    Nicole’s former Nationwide clients emailed her at her Nationwide email address,
 2    Ryan forwarded such emails to Nicole at her new Fastapp email address rather than
 3    answering the email on behalf of Nationwide or simply holding such emails on
 4    behalf of Nationwide.
 5          38.    Additionally, on at least one occasion, Ryan received an email at
 6    Nicole’s Nationwide email address in which a potential client inquired about setting
 7    up a new lender relationship with Nationwide. Again, rather than answering the
 8    email for Nationwide and in any way attempting to secure new business for
 9    Nationwide consistent with his job responsibilities, Ryan forwarded the email to
10    Nicole at her Fastapp email address.
11          39.    It is without doubt that none of these emails would have been diverted
12    and redirected to Fastapp but for the familial relationship between Nicole and Ryan
13    and because of the potential for Ryan to become employed by Fastapp, which,
14    apparently, took precedence for Ryan over his employment relationship with
15    Nationwide. As a result, Nationwide terminated Ryan’s employment on August 3,
16    2020. Upon information and belief, Ryan is now employed by Fastapp along with
17    Nicole.
18          40.    Since Nicole and Ryan’s unlawful disclosure of Nationwide’s
19    confidential information and their departure to Fastapp, at least the top three
20    accounts they managed have transferred their business away from Nationwide and,
21    upon information and belief, to Fastapp. As one example, Nicole’s top account
22    (which was managed by Ryan upon Nicole’s departure) was making approximately
23    1,500 orders per month prior to August 2020. As indicated above, Nicole was
24    forwarding information about this client to Fastapp around March 2020. The client’s
25    orders started declining after Nicole’s departure, and the orders stood at a mere 369
26    for the month-to-date as of September 15, 2020. This reduction in orders represents
27    a decline of approximately 46%, even as Nationwide’s total business increased by
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 1    about 15% in the same timeframe. Upon information and belief, Defendants’
 2    misappropriation of Nationwide’s confidential information and the breach of their
 3    fiduciary duty of loyalty, as applicable, has resulted in tens of millions of dollars’
 4    worth of damages to Nationwide from lost business.
 5    F.    Nationwide Sent Demand Letters to Defendants
 6          41.    On August 4, 2020, Nationwide sent Nicole and Ryan each a letter
 7    reminding them of their continuing contractual duties owed to Nationwide under the
 8    Non-Disclosure Agreements. Nationwide informed Nicole and Ryan of the nature
 9    of the information it had discovered thus far regarding their improper disclosure and
10    use of Nationwide’s confidential information. Nationwide requested Nicole and
11    Ryan (1) return all Company confidential information; (2) certify, in writing, that all
12    Company confidential information has been returned and shall not be used or
13    disclosed by them; and (3) provide Nationwide with written assurances that they
14    would permanently cease and desist from further use of all Company confidential
15    information. Additionally, given that Nicole and Ryan used their personal devices
16    and, it appears at times also their personal email addresses, Nationwide requested
17    access to their devices in order to ensure all its confidential information was removed
18    from such devices and systems.
19          42.    Nicole and Ryan have, for the most part, refused Nationwide’s requests.
20    While Nicole and Ryan purport to have produced the Nationwide confidential
21    information on their personal devices, they refuse to allow Nationwide to conduct
22    an examination of the devices to ensure that all of Nationwide’s confidential
23    information has been identified so that such information may be properly removed
24    from their devices. Moreover, they both refuse to make assurances regarding their
25    past, current, or future disclosure and use of Nationwide confidential information.
26          43.    Nationwide sent a similar letter to Fastapp on August 4, 2020. In this
27    letter, Nationwide notified Fastapp of the continuing obligations owed to
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 1    Nationwide by Nicole and Ryan. Like with Nicole’s and Ryan’s letters, Nationwide
 2    explained to Fastapp the evidence it had gathered regarding the improper forwarding
 3    of Company confidential information to Fastapp. Nationwide requested Fastapp’s
 4    assistance in returning all Nationwide confidential information in Fastapp’s
 5    possession, custody, or control. Like Nicole and Ryan, Fastapp has not cooperated
 6    with Nationwide.
 7          44.     Defendants’ actions and refusals to cooperate have left Nationwide
 8    with no choice but to file the instant action. Thus, Nationwide brings this lawsuit to
 9    recover its confidential information from Defendants and all those in concert with
10    them as well as damages caused by their wrongful actions.
11          45.     Upon information and belief, Nicole and Ryan continue to retain
12    Nationwide’s confidential information in their possession and have shared this
13    information with Fastapp. Upon information and belief, Defendants have worked
14    together to disclose and misappropriate Nationwide’s confidential information so
15    that Fastapp could gain an unfair advantage in the marketplace. Nationwide’s
16    confidential information is the product of more than twelve years of hard labor and
17    substantial financial investment. Nicole and Ryan’s actions, in concert with those of
18    Fastapp, unjustly enriched Defendants, who are, by receiving and using this
19    confidential information, avoiding expenditure of their own time, labor, and
20    expense.
21                               VI.   CAUSES OF ACTION
22      COUNT I—MISAPPROPRIATION OF TRADE SECRETS UNDER THE
23               DEFEND TRADE SECRETS ACT (18 U.S.C. §§ 1836 et seq.)
24                                 (Against All Defendants)
25          46.     Nationwide incorporates the preceding allegations as if fully set forth
26    herein.
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28
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                                   COMPLAINT FOR DAMAGES
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 1          47.     Nationwide has developed and marketed an extremely successful
 2    appraisal management business. Given the competitive nature of this business, the
 3    compilation of sensitive information relating to clients, potential clients, and
 4    business operations, and the confidentiality of such information, is of utmost
 5    importance.
 6          48.     As a result of Nicole and Ryan’s employment with Nationwide—and
 7    specifically as to Nicole, the entrustment of a position within Nationwide’s executive
 8    team, and as the principal executive overseeing the Company’s west coast
 9    operations—Nicole and Ryan came into possession of confidential, proprietary, and
10    trade secret information having independent economic value and not generally
11    known or readily available to the public, including Nationwide’s competitors.
12    Nationwide expended substantial time, energy, money, and ingenuity in compiling
13    this information based on its own efforts and communications with clients,
14    prospective clients, and others.
15          49.     The confidential, proprietary, and trade secret information to which
16    Nicole and Ryan had access and of which they came into possession includes, but is
17    not limited to: Nationwide’s current and potential client lists, customer pricing,
18    business plans, operational strategies, marketing plans, business directions, data
19    arrangement and acquisition, and sensitive underlying data used to develop this
20    confidential, proprietary, and trade secret information. Nationwide granted Nicole
21    and Ryan with access to Nationwide’s confidential information solely for the
22    purpose of fulfilling their responsibilities to Nationwide.
23          50.     Nationwide made reasonable efforts to ensure that the confidential and
24    proprietary information remained secret by, among other things, disclosing it only
25    to those individuals who needed the information to perform their duties; making
26    known to these individuals the fact that the information was to be kept confidential;
27    maintaining reasonable security in and around its place of business and within its
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 1    online systems; and requiring individuals, such as Nicole and Ryan, to agree to keep
 2    its confidence, including by executing written agreements affirming their obligation
 3    to keep such information confidential.
 4          51.    Nationwide’s confidential information—namely, lists and compilations
 5    of current and potential clients; client fee lists and pricing strategies; and marketing
 6    plans and strategies—constitutes protectable trade secrets under the Defend Trade
 7    Secrets Act, codified at 18 U.S.C. § 1836 et seq. (the “DTSA”).
 8          52.    Nationwide is informed and believes, and thereon alleges, that
 9    Defendants violated the DTSA by misappropriating the trade secrets embodied in
10    Nationwide’s confidential information in a willful manner and with the deliberate
11    intent to injure Nationwide’s business, and to improve Fastapp’s own business and
12    for Defendants’ own financial gain—including, without limitation and as further set
13    forth above, by (1) ratifying and/or knowingly benefitting from the downloading of
14    trade secret information from Nationwide’s computer systems and transferring that
15    information to personal computers and/or Defendants’ computers; (2) ratifying
16    and/or knowingly benefitting from the forwarding of trade secret information from
17    Nationwide’s email systems to Defendants’ personal or business email systems;
18    (3) disclosing to Nationwide’s competitors confidential and trade secret information
19    pertaining to Nationwide’s client lists and contacts, pricing quotes, business plans,
20    operational strategies, and sensitive information regarding clients; (4) disclosing
21    Nationwide’s confidential pricing information pertaining to Nationwide’s
22    customers; (5) using Nationwide’s trade secrets pertaining to its clients and pricing
23    structures to unlawfully solicit Nationwide’s customers to transfer their business to
24    Nationwide competitors; and (6) using Nationwide’s trade secrets for their own
25    benefit and that of Nationwide’s competitors.
26          53.    As a proximate result of the misappropriation of Nationwide’s trade
27    secrets and/or confidential information, Nationwide has suffered, and will continue
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 1    to suffer, actual damages, and Defendants will be unjustly enriched, in sums to be
 2    proven at trial. Nationwide has suffered and will continue to suffer immediate and
 3    irreparable harm and will continue to suffer such injury until the breaches are
 4    preliminarily and permanently enjoined.
 5          54.    Under the DTSA, Nationwide is entitled to recover its reasonable
 6    attorneys’ fees as a result of Defendants’ willful and malicious appropriation.
 7          55.    The misappropriation and wrongful acts of Defendants were
 8    intentional, malicious, and in bad faith and have subjected and will continue to
 9    subject Nationwide to cruel and unjust hardship in conscious disregard of
10    Nationwide’s rights, so as to justify an award of exemplary and punitive damages
11    according to proof at trial.
12              COUNT II—MISAPPROPRIATION OF TRADE SECRETS UNDER
13     THE CALIFORNIA UNIFORM TRADE SECRETS ACT (California Civil
14                                    Code §§ 3426 et seq.)
15                                     (Against All Defendants)
16          56.    Nationwide incorporates the preceding allegations as if fully set forth
17    herein.
18          57.    Nationwide has developed and marketed an extremely successful
19    appraisal management business. Given the competitive nature of this business, the
20    compilation of sensitive information relating to clients and business operations and
21    the confidentiality of such information is of utmost importance.
22          58.    As a result of Nicole and Ryan’s employment with Nationwide—and
23    specifically as to Nicole, the entrustment of a position within Nationwide’s executive
24    team, and as the principal executive overseeing the Company’s west coast
25    operations—Nicole and Ryan came into possession of confidential, proprietary, and
26    trade secret information having independent economic value and not generally
27    known or readily available to the public, including Nationwide’s competitors.
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 1    Nationwide expended substantial time, energy, money, and ingenuity in compiling
 2    this information based on its own efforts and communications with clients,
 3    prospective clients, and others.
 4          59.    The confidential, proprietary, and trade secret information to which
 5    Nicole and Ryan had access and of which they came into possession includes, but is
 6    not limited to: Nationwide’s current and potential client lists, customer pricing,
 7    business plans, operational strategies, marketing plans, business directions, data
 8    arrangement and acquisition, and sensitive underlying data used to develop this
 9    confidential, proprietary, and trade secret information. Nationwide granted Nicole
10    and Ryan with access to Nationwide’s confidential information solely for the
11    purpose of fulfilling their responsibilities to Nationwide.
12          60.    Nationwide made reasonable efforts to ensure that the confidential and
13    proprietary information remained secret by, among other things, disclosing it only
14    to those individuals who needed the information to perform their duties; making
15    known to these individuals the fact that the information was to be kept confidential;
16    maintaining reasonable security in and around its place of business and within its
17    online systems; and requiring individuals, such as Nicole and Ryan, to agree to keep
18    its confidence, including by executing written agreements affirming their obligation
19    to keep such information confidential.
20          61.    Nationwide’s confidential information—namely, lists and compilations
21    of current and potential clients; client fee lists and pricing strategies; and marketing
22    plans and strategies—constitutes protectable trade secrets under the California
23    Uniform Trade Secrets Act, codified at California Civil Code §§ 3426-3426.11 (the
24    “CUTSA”).
25          62.    Nationwide is informed and believes, and thereon alleges, that
26    Defendants violated the CUTSA by misappropriating the trade secrets embodied in
27    Nationwide’s confidential information in a willful manner and with the deliberate
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                                    COMPLAINT FOR DAMAGES
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 1    intent to injure Nationwide’s business, and to improve Fastapp’s own business and
 2    for Defendants’ own financial gain—including, without limitation and as further set
 3    forth above, by (1) ratifying and/or knowingly benefitting from the downloading of
 4    trade secret information from Nationwide’s computer systems and transferring that
 5    information to personal computers and/or Defendants’ computers; (2) ratifying
 6    and/or knowingly benefitting from the forwarding of trade secret information from
 7    Nationwide’s email systems to Defendants’ personal or business email systems;
 8    (3) disclosing to Nationwide’s competitors confidential and trade secret information
 9    pertaining to Nationwide’s client lists and contacts, pricing quotes, business plans,
10    operational strategies, and sensitive information regarding clients; (4) disclosing
11    Nationwide’s confidential pricing information pertaining to Nationwide’s
12    customers; (5) using Nationwide’s trade secrets pertaining to its clients and pricing
13    structures to unlawfully solicit Nationwide’s customers to transfer their business to
14    Nationwide competitors; and (6) using Nationwide’s trade secrets for their own
15    benefit and that of Nationwide’s competitors.
16          63.    As a proximate result of the misappropriation of Nationwide’s trade
17    secrets and/or confidential information, Nationwide has suffered, and will continue
18    to suffer, actual damages, and Defendants will be unjustly enriched, in sums to be
19    proven at trial. Nationwide has suffered and will continue to suffer immediate and
20    irreparable harm and will continue to suffer such injury until the breaches are
21    preliminarily and permanently enjoined.
22          64.    Under the CUTSA, Nationwide is entitled to recover its reasonable
23    attorneys’ fees as a result of Defendants’ willful and malicious misappropriation.
24          65.    The misappropriation and wrongful acts of Defendants were
25    intentional, malicious, and in bad faith and have subjected and will continue to
26    subject Nationwide to cruel and unjust hardship in conscious disregard of
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                                   COMPLAINT FOR DAMAGES
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 1    Nationwide’s rights, so as to justify an award of exemplary and punitive damages
 2    according to proof at trial.
 3                COUNT III—BREACH OF FIDUCIARY DUTY OF LOYALTY
 4                              (Against Defendants Nicole and Ryan)
 5          66.    Nationwide incorporates the preceding allegations as if fully set forth
 6    herein.
 7          67.    At all times pertinent hereto, Nicole and Ryan were employees owing
 8    a duty of loyalty to Nationwide, as their employer. Nicole and Ryan were highly
 9    valued, highly compensated, and entrusted by Nationwide with access to its most
10    confidential information. In addition, as an executive and the principal manager
11    overseeing west coast operations, Nicole was entrusted with ultra-sensitive and
12    ultra-competitive information and was responsible for the Company’s well-being
13    within a specific geographic area, in addition to her role in managing clients
14    throughout the country. As a result, Nicole and Ryan owed Nationwide a fiduciary
15    duty that required them to, inter alia, devote all their time and attention during
16    business hours to the business of Nationwide, to refrain from engaging in a business
17    or business activity that competed with Nationwide, to refrain from conducting
18    activities in any manner inimical to Nationwide’s best interests, and to refrain from
19    secreting business opportunities obtained through the exploitation of their positions
20    as agents of Nationwide.
21          68.    Nicole and Ryan breached their fiduciary duties to Nationwide by
22    engaging in the wrongful conduct alleged herein while still employed with
23    Nationwide, including, but not limited to: (1) planning and conspiring to steal
24    Nationwide’s trade secrets and confidential information and using or disclosing such
25    information to third parties competitive with Nationwide’s business, including
26    Fastapp; (2) upon information and belief, soliciting Nationwide’s clients and
27    potential clients to divert their business away from Nationwide and, instead, to
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 1    Fastapp; (3) providing non-Nationwide employees—and specifically, competitors—
 2    access to Nationwide’s confidential information; and (4) diverting potential business
 3    opportunities from Nationwide to Fastapp. Nicole and Ryan used Nationwide’s time,
 4    facilities, and resources to engage in this wrongful conduct.
 5          69.    As a direct and proximate result of those breaches, Nationwide has
 6    sustained and will incur further damages, including, but not limited to, damages
 7    reflecting lost business, lost profits, damage to its goodwill, and the salary,
 8    commissions, and other compensation paid to Nicole and Ryan during any period of
 9    their breaches, in amounts to be proven at trial.
10          70.    The aforementioned wrongful conduct was intentional, malicious, and
11    in bad faith and has subjected and will continue to subject Nationwide to cruel and
12    unjust hardship in conscious disregard of its rights, so as to justify an award of
13    exemplary and punitive damages according to proof at trial.
14                        COUNT IV—BREACH OF CONTRACT
15                               (Non-Disclosure Agreements)
16                          (Against Defendants Nicole and Ryan)
17          71.    Nationwide incorporates the preceding allegations as if fully set forth
18    herein.
19          72.    The Non-Disclosure Agreements are valid and enforceable agreements
20    between Nicole and Ryan, on the one hand, and Nationwide, on the other.
21          73.    Pursuant to the Non-Disclosure Agreements, Nationwide agreed to
22    provide Nicole and Ryan with access to its confidential information to facilitate their
23    duties. In exchange, Nicole and Ryan agreed to maintain and preserve the
24    confidentiality of Nationwide’s information; not to disclose Nationwide’s
25    confidential information to any third party, including Nationwide’s competitors; not
26    to use the confidential information for purposes other than to perform their duties
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 1    for Nationwide; and to return all confidential information in their possession,
 2    custody, or control upon their departure from the Company.
 3          74.    Nationwide has performed all duties and obligations under the
 4    Non-Disclosure Agreements. Specifically, Nationwide provided Nicole and Ryan
 5    with its confidential information, to which they would not otherwise have had
 6    access.
 7          75.    Nicole and Ryan breached their obligations to Nationwide by, among
 8    other things, forwarding Nationwide confidential information to themselves, each
 9    other, and Fastapp; disclosing Nationwide’s confidential information with third
10    parties, including Fastapp; using Nationwide’s confidential information to unfairly
11    compete with it and for theirs and Fastapp’s economic gain; and failing to return,
12    and retaining possession of, Nationwide’s confidential information after the
13    termination of their employment with Nationwide.
14          76.    As a direct and proximate result of those breaches, Nationwide has
15    sustained and will incur further damages, including, but not limited to, damages
16    reflecting lost business, lost profits, and damage to its goodwill. Nationwide has also
17    suffered and will continue to suffer immediate and irreparable harm and will
18    continue to suffer such injury until the breaches are preliminarily and permanently
19    enjoined.
20                  COUNT V—FAILURE TO USE ORDINARY CARE AND
21              DILIGENCE UNDER CALIFORNIA LABOR CODE § 2854
22                             (Against Defendants Nicole and Ryan)
23          77.    Nationwide incorporates the preceding allegations as if fully set forth
24    herein.
25          78.    Pursuant to California Labor Code § 2854, an employee is required to
26    use ordinary care and diligence throughout the course of employment.
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28
                                            - 22 -
                                   COMPLAINT FOR DAMAGES
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 1          79.    As Nationwide employees, Nicole and Ryan had a duty to use ordinary
 2    care and diligence in connection with their employment.
 3          80.    By deliberately engaging in the conduct set forth above, Nicole and
 4    Ryan breached their duty to use ordinary care and diligence as employees of
 5    Nationwide, in violation of California Labor Code § 2854.
 6          81.    As a direct and proximate result of Nicole’s and Ryan’s breaches of
 7    their duty to use ordinary care and diligence, they have been unjustly enriched, and
 8    Nationwide has been damaged in amounts to be proven at trial.
 9                COUNT VI—FAILURE TO COMPLY WITH EMPLOYER’S
10              DIRECTIONS UNDER CALIFORNIA LABOR CODE § 2856
11                            (Against Defendants Nicole and Ryan)
12          82.    Nationwide incorporates the preceding allegations as if fully set forth
13    herein.
14          83.    Pursuant to California Labor Code § 2856, an employee shall
15    substantially comply with all the directions of his or her employer concerning the
16    services on which the employee is engaged, except where such obedience is
17    impossible or unlawful, or would impose new or unrealistic burdens upon the
18    employee.
19          84.    As employees of Nationwide, Nicole and Ryan were obligated to
20    comply with Nationwide’s directives including acting in its best interests.
21    Complying with Nationwide’s directives, which, among others, included the
22    directive to maintain the confidentiality of its information, was neither impossible
23    nor unlawful and did not impose any unrealistic burdens on Nicole and Ryan. To the
24    contrary, the realistic expectations for Nicole and Ryan were for them to act in
25    Nationwide’s best interests at all times and to maintain the confidentiality of its
26    sensitive and proprietary information.
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 1            85.   By deliberately engaging in the conduct set forth above, Nicole and
 2    Ryan breached their obligations to comply with Nationwide’s directives and instead
 3    acted contrary to Nationwide’s best interests.
 4            86.   As a direct and proximate result of Nicole’s and Ryan’s breaches of this
 5    duty, they have been unjustly enriched in an amount to be proven at trial.
 6                    COUNT VII—FAILURE TO GIVE PREFERENCE TO
 7      PERFORMANCE OF EMPLOYER’S BUSINESS UNDER CALIFORNIA
 8                                   LABOR CODE § 2863
 9                             (Against Defendants Nicole and Ryan)
10            87.   Nationwide incorporates the preceding allegations as if fully set forth
11    herein.
12            88.   Pursuant to California Labor Code § 2863, an employee who has any
13    business to transact on his own account, similar to that entrusted to him or her by his
14    or her employer, shall always give the preference to the business of the employer.
15            89.   As set forth above, Nicole and Ryan, on several occasions, engaged in
16    conduct that was designed to benefit them personally to the detriment of Nationwide.
17            90.   Nicole and Ryan, by devoting their time and energy to helping
18    themselves, violated California Labor Code § 2863.
19            91.   As a direct and proximate result of Nicole’s and Ryan’s violations of
20    California Labor Code § 2863, they were unjustly enriched in amounts to be proven
21    at trial.
22                     COUNT VIII—TORTIOUS INTERFERENCE WITH
23                             CONTRACTUAL RELATIONS
24                                  (Non-Disclosure Agreements)
25                            (Against Defendants Fastapp and Nicole)
26            92.   Nationwide incorporates the preceding allegations as if fully set forth
27    herein.
28
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 1          93.   The Non-Disclosure Agreements are valid and enforceable contracts
 2    between Nicole and Ryan, on the one hand, and Nationwide, on the other.
 3          94.   Fastapp knew or should have known about the contracts between
 4    Nicole and Ryan. At the very latest, Fastapp learned of Nicole’s and Ryan’s
 5    contractual obligations not to disclose or use Nationwide’s confidential information
 6    as of August 4, 2020, when Nationwide relayed the same to Fastapp. In addition,
 7    Nicole had knowledge of Ryan’s contract with Nationwide given her own similar
 8    position within the Company.
 9          95.   Nevertheless, Fastapp intentionally, improperly, and without privilege
10    interfered with the contractual obligations between Nicole and Ryan, on the one
11    hand, and Nationwide, on the other, by, among other things, soliciting Nicole and
12    Ryan to share Nationwide’s confidential information with Fastapp; soliciting Nicole
13    and Ryan to use Nationwide’s confidential information on behalf of Fastapp in an
14    effort to unfairly compete with Nationwide; and instructing or encouraging Nicole
15    and Ryan to retain possession, custody, or control of Nationwide’s confidential
16    information after the termination of their employment with Nationwide. Nicole
17    improperly and without privilege interfered with Ryan’s obligations to Nationwide
18    by taking similar actions, including by soliciting Ryan to forward Nationwide
19    confidential information to her after her departure from the Company so she could
20    use it to unfairly compete with Nationwide during her employment with Fastapp.
21          96.   Nicole and Ryan have actually breached their contractual obligations to
22    Nationwide by, among other things, forwarding Nationwide confidential
23    information to themselves, each other, and Fastapp; disclosing Nationwide’s
24    confidential information with third parties, including Fastapp; using Nationwide’s
25    confidential information to unfairly compete with it and for theirs and Fastapp’s
26    economic gain; and failing to return, and retaining possession of, Nationwide’s
27    confidential information after the termination of their employment with Nationwide.
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 1          97.     As a direct and proximate result of Fastapp’s and Nicole’s interference,
 2    and Nicole’s and Ryan’s actual breaches, Nationwide has sustained and will incur
 3    damages, including, but not limited to, damages reflecting lost business, lost profits,
 4    and damage to its goodwill. Fastapp and Nicole have been unjustly enriched by their
 5    actions. Nationwide has also suffered and will continue to suffer immediate and
 6    irreparable harm and will continue to suffer such injury until the breaches are
 7    preliminarily and permanently enjoined.
 8                COUNT IX—TORTIOUS INTERFERENCE WITH BUSINESS
 9                                       RELATIONS
10                                     (Against All Defendants)
11          98.     Nationwide incorporates the preceding allegations as if fully set forth
12    herein.
13          99.     At all times relevant hereto, Nationwide enjoyed economic
14    relationships with its clients, with the probability of future economic benefit to
15    Nationwide. Specifically, prior to Nicole and Ryan’s departure, Nationwide had
16    economic relationships with the clients managed by Nicole and Ryan on behalf of
17    Nationwide.
18          100. Defendants had knowledge of these relationships because Nicole and
19    Ryan, as Nationwide employees, were the managers of Nationwide’s relationships
20    with the clients. Fastapp has knowledge of these relationships as a result of the
21    conveyance of such information from Nicole and Ryan, and because such
22    relationship was evident from the confidential information and emails forwarded by
23    Nicole and Ryan to Fastapp.
24          101. Defendants took intentional acts to disrupt Nationwide’s relationships
25    with clients by, among other things: (1) forwarding confidential information about
26    such clients to Fastapp; and (2) using such confidential information to solicit the
27    clients to divert their business from Nationwide to Fastapp.
28
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 1           102. Upon information and belief, several top clients have, in fact,
 2    transferred their business from Nationwide to Fastapp.
 3           103. As a direct and proximate result of Defendants’ intentional acts,
 4    Nationwide has sustained and will incur damages, including, but not limited to,
 5    damages reflecting lost business, lost profits, and damage to its goodwill.
 6    Nationwide has also suffered and will continue to suffer immediate and irreparable
 7    harm and will continue to suffer such injury until the breaches are preliminarily and
 8    permanently enjoined.
 9                            COUNT X—AIDING AND ABETTING
10                            (Against Defendants Fastapp and Nicole)
11           104. Nationwide incorporates the preceding allegations as if fully set forth
12    herein.
13           105. At all times relevant hereto, Nicole and Ryan owed contractual,
14    common law, and statutory duties to Nationwide. Nicole and Ryan were both parties
15    to Non-Disclosure Agreements with Nationwide, under which both were required to
16    maintain the confidentiality of Nationwide’s information; prohibited from disclosing
17    such information to third parties; prohibited from using such information in a manner
18    inconsistent with the Non-Disclosure Agreements; and required to return
19    Nationwide’s confidential information upon termination of their employment.
20    Additionally, pursuant to common law and California statutes, as set forth above,
21    Nicole and Ryan owed Nationwide fiduciary duties, including a duty of loyalty, duty
22    of obedience, duty of ordinary care and diligence, and duty to put Nationwide’s
23    interests first.
24           106. Nicole and Ryan breached their duties to Nationwide, as described
25    above.
26           107. Fastapp knew or should have known that the above-listed acts taken by
27    Nicole and Ryan constituted breaches of these duties. Nicole likewise knew or
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 1    should have known that the acts taken by Ryan constituted breaches of the duties he
 2    owed to Nationwide.
 3          108. Nevertheless, Fastapp gave substantial assistance or encouragement to
 4    Nicole and Ryan, and Nicole gave substantial assistance or encouragement to Ryan,
 5    to engage in these acts. Specifically, upon information and belief, Fastapp
 6    encouraged Nicole to share Nationwide’s confidential information with Fastapp
 7    representatives and employees and to use this information to divert business from
 8    Nationwide to Fastapp. Likewise, Nicole encouraged and assisted Ryan in engaging
 9    in the same acts.
10          109. As a direct and proximate result of Fastapp and Nicole’s aiding and
11    abetting, Nationwide has sustained and will incur damages, including, but not
12    limited to, damages reflecting lost business, lost profits, and damage to its goodwill.
13    Nationwide has also suffered and will continue to suffer immediate and irreparable
14    harm and will continue to suffer such injury until the breaches are preliminarily and
15    permanently enjoined.
16                                  COUNT XI—CONSPIRACY
17                                     (Against All Defendants)
18          110. Nationwide incorporates the preceding allegations as if fully set forth
19    herein.
20          111. At all times relevant hereto, Defendants came together and agreed upon
21    a common plan or design to improperly take Nationwide’s confidential information;
22    share that information with third parties and competitors, including Fastapp
23    representatives and employees; and use that information to divert business from
24    Nationwide to Fastapp.
25          112. Pursuant to this agreement, Defendants did, in fact, commit the
26    above-listed acts, which include, but are not limited to, the misappropriation of
27    Nationwide’s trade secrets and confidential information, breaches of fiduciary
28
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 1    duties, tortious interference with contractual relationships, and tortious interference
 2    with business relations.
 3          113. As a direct and proximate result of Defendants’ scheme, Nationwide
 4    has sustained and will incur damages, including, but not limited to, damages
 5    reflecting lost business, lost profits, and damage to its goodwill. Nationwide has also
 6    suffered and will continue to suffer immediate and irreparable harm and will
 7    continue to suffer such injury until the breaches are preliminarily and permanently
 8    enjoined.
 9
                                 VII. PRAYER FOR RELIEF
10
            WHEREFORE, Nationwide prays for judgment and relief against Defendants
11
      as follows:
12
            1.      For judgment in favor of Nationwide and against Defendants on all
13
      causes of action in the Complaint;
14
            2.      For an Order directing Defendants to return all of Nationwide’s
15
      information and property in their possession, custody, and control;
16
            3.      For orders preliminarily and permanently enjoining Defendants and all
17
      persons or entities acting in concert with them from, directly or indirectly:
18
            (a)     obtaining, using, or disclosing any of the trade secrets and/or
19
                    confidential and proprietary information belonging to Nationwide for
20
                    any purpose whatsoever;
21
            (b)     accessing, retrieving, copying, deleting, destroying, altering, or
22
                    disseminating any hard or electronic copies of documents containing
23
                    Nationwide’s trade secrets and/or confidential and proprietary
24
                    information within their custody, possession, or control;
25
            (c)     using, on their own behalf or on behalf of Fastapp, or providing Fastapp
26
                    or its employees, or any third party, with Nationwide client-specific
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                                             - 29 -
                                    COMPLAINT FOR DAMAGES
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 1                 information, not independently readily available to Fastapp’s
 2                 personnel, in order to enable Defendants to solicit Nationwide’s clients,
 3                 or potential clients, including, but not limited to, any information
 4                 downloaded or forwarded from Nationwide’s computers or systems and
 5                 subsequently uploaded, stored, or forwarded to Defendants’ computers
 6                 or systems;
 7           4.    For an order to inspect Nicole’s and Ryan’s personal devices and email
 8    accounts previously used during their employment with Nationwide to determine
 9    where and to whom Nationwide’s trade secrets and confidential and proprietary
10    information has been disseminated;
11           5.    For three times the amount of actual damages, including lost profits,
12    according to proof, as set forth herein, in an amount in excess of the jurisdictional
13    requirements;
14           6.    For restitution and disgorgement of all ill-gotten gains as set forth
15    herein, in an amount to be proven at trial, but at least in excess of the jurisdictional
16    requirements;
17           7.    For punitive and exemplary damages, according to proof at trial, for all
18    causes of action for which such damages are authorized;
19           8.    For reasonable attorneys’ fees and costs incurred herein as allowed by
20    law;
21           9.    For pre- and post- judgment interest at the maximum legal rate, as
22    applicable, as an element of damages that Nationwide has suffered as a result of
23    Defendants’ wrongful and unlawful acts; and
24           10.   For any other and further relief the Court may deem just and proper.
25                                  VIII. JURY DEMAND
26           Nationwide demands a trial by jury.
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                                             - 30 -
                                    COMPLAINT FOR DAMAGES
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 1     Dated: November 4, 2020           DLA PIPER LLP (US)
 2
 3                                       By: /s/ Benjamin M. Gipson
 4                                          BENJAMIN M. GIPSON
                                            MICHAEL W. MASSIATTE
 5                                          MARIA A. GARRETT
 6                                          DLA PIPER LLP (US)

 7                                           Attorneys for Plaintiff
                                             NATIONWIDE PROPERTY &
 8                                           APPRAISAL SERVICES LLC
 9                                           A New Jersey limited liability company
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                                 COMPLAINT FOR DAMAGES
